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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 SARA AVIEL,

                 Plaintiff,

         v.                                                Civil Action No. 25-0778 (LLA)

 SERGIO GOR, et al.,

                 Defendants.


                               DEFENDANTS’ STATUS REPORT

       Pursuant to the Court’s April 4, 2025 Order (ECF No. 23), Defendants respectfully advise

the Court that they are in compliance with the Court’s order. Plaintiff Sara Aveil has been

reinstated as president of the Inter-American Foundation and Peter Marocco is not acting as a

Board Member of the Foundation. A copy of the notice sent to the Foundation’s employees and

grantees is attached hereto as Exhibits 1 and 2 respectively.

       Defendants acknowledge that they did not send notice to the grantees until earlier today.

Defendants attempted to send notice to the grantees on Friday, April 4 but were unable to access

the database with the grantees’ information until earlier today. Defendants apologize to the Court

for the delay.



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Dated: April 7, 2025                Respectfully submitted,

                                    EDWARD R. MARTIN, JR., D.C. Bar #481866
                                    United States Attorney


                                    By:           /s/ John J. Bardo
                                          JOHN J. BARDO, D.C. Bar #1655534
                                          Assistant United States Attorney
                                          601 D Street, NW
                                          Washington, DC 20530
                                          (202) 870-6770

                                    Attorneys for the United States of America




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